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                                     Exhibit A
                                Billing Statement
                             Elliot Kozolchyk, Esq.



  DATE      HRS                                   DESCRIPTION                                             FEES
 2/23/18    2.0 Met and Interviewed Client                                                           $     700.00
                Researched Defendant South Florida Woman's Health Associates, Inc.;
 2/24/18    0.9 performed due diligence on nature of business and likelihood of it generating        $      315.00
                more $500,000 per year for FLSA purposes.
                Reviewed Plaintiff's documents, including bank statements showing
 5/12/18    0.4                                                                                      $      140.00
                compensation from Defendants.
 5/13/18    0.5 Prepared Exhibit A to the Complaint, the Statement of Claim                          $      175.00
 5/13/18    0.5 Prepared Complaint                                                                   $      175.00
 5/16/18    0.1 Reviewed DE 4, Notice of Court Practices in FLSA Cases                               $       35.00
 5/16/18    0.1 Reviewed DE 2, Judge Assignment, and DE 3, Summonses                                 $       35.00
                Contacted Client to discuss contents of Defendant's email regarding the
 5/25/18    0.5                                                                                      $      175.00
                Complaint
                Reviewed email sent directly from Defendant regarding the allegations in the
 5/25/18    0.2                                                                                      $       70.00
                Complaint
  6/6/18    0.1 Prepared DE 5, Notice of Filing Statement of Claim                                   $       35.00
                Reviewed email from lawyer associated but not retained by Defendant, sent
 6/13/18    0.2                                                                                      $       70.00
                response, and reviewed reply
 6/13/18    0.1 Reviewed email from Defendant regarding possible settlement conditions               $       35.00
 6/18/18    0.2 Reviewed DE 6, Defendant's Response to Complaint                                     $       70.00
 6/27/18    0.1 Reviewed DE 7, Order Requiring Defendant Corporation to Obtain Counsel               $       35.00
 6/29/18    0.2 Reviewed DE 9, Order of Referral to Mediation                                        $       70.00
 6/29/18    0.1 Reviewed DE 8, Scheduling Order                                                      $       35.00
                Sent email to Opposing Counsel with draft settlement agreement and response
  7/4/18    0.2                                                                                      $       70.00
                to proposal for settlement conference
  7/9/18    0.1 Sent email to Defendant rejecting settlement offer and proposing a mediator          $       35.00
                Reviewed two emails from Defendant regarding mediator selection and
  7/9/18    0.1                                                                                      $       35.00
                proposing a modification to earlier settlement offer
 7/10/18    0.4 Phone call with Defendants                                                           $      140.00
 7/10/18    0.2 Reviewed two emails from Defendant concerning settlement and sent reply              $       70.00
                Reviewed lengthy, meandering email from Defendant and sent two replies with
 7/11/18    0.3                                                                                      $      105.00
                precise settlement offer, and reviewed reply
                Sent two emails to Defendant regarding settlement terms and reviewed two
 7/11/18    0.4                                                                                      $      140.00
                responses from Defendant agreeing to terms
 7/11/18    0.2 Reviewed DE 10, Request for Clerk to Appoint Mediator                                $       70.00
 7/12/18    0.1 Prepared DE 12, Notice of Settlement                                                 $       35.00
 7/13/18    0.1 Reviewed DE 14, Notice of Court Practice Upon Settlement                             $       35.00
 7/13/18    0.4 Prepared draft of settlement agreement                                               $      140.00
 7/13/18    0.1 Reviewed DE 13, Notice from the Court Regarding Plaintiff's Notice                   $       35.00
                Phone call with newly-retained Defendants' counsel, Roslyn Stevenson. She told
 7/13/18    0.2 me to look her up on the Florida Bar website. Upon doing so, I found that she is a   $       70.00
                member of the 11th Judicial Circuit Grievance Committee.
                Reviewed two emails from Opposing Counsel regarding settlement, attorney's
 7/17/18    0.2                                                                                      $       70.00
                fees, and case status,
                Reviewed DE 15, Notice of Attorney Appearance, and DE 16, Amended Notice of
 7/17/18    0.1                                                                                      $       35.00
                Attorney Appearance



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  DATE      HRS                                  DESCRIPTION                                               FEES
 7/17/18    0.2 Reviewed DE 17, Defendant's Answer and Affirmative Defenses                           $      70.00
                Sent reply to Opposing Counsel with draft of settlement agreement and the
 7/18/18    0.5 precise points at issue spelled out in the email, and reviewed reply containing       $      175.00
                Defense Counsel's own draft of a settlement agreement
 7/19/18    2.1 Performed legal research on conditions for enforceable settlements                    $   735.00
 7/19/18    4.4 Prepared DE 18, Motion to Enforce Settlement                                          $ 1,540.00
 7/20/18    0.1 Reviewed DE 20, Order Granting Motion to Appoint Mediator                             $    35.00
 7/20/18    0.1 Reviewed DE 21, Clerk's Mediator Designation                                          $    35.00
                Sent email to Opposing Counsel requesting deposition dates for Defendant and
 7/20/18    0.1                                                                                       $       35.00
                reviewed reply
                Sent email to OC regarding lengthy anticipated delay with obtaining deposition
 7/20/18    0.2                                                                                       $       70.00
                dates that occur before Court's Discovery Deadline
 7/20/18    0.1 Reviewed DE 19, Order Denying Motion to Enforce Settlement                            $       35.00
                Reviewed email from Opposing Counsel with proposed deposition dates,
 7/25/18    0.2 conferring on Motion to deposit funds in court registry, and stating Defendants'      $       70.00
                position on mediation
 7/27/18    0.3 Reviewed DE 23, Defendants' Response to Statement of Claim                            $      105.00
 7/27/18     0.2   Reviewed DE 22, Defendant's Response to Motion for Clerk to Appoint Mediator       $       70.00
                   Sent email to OC conferring on renewed Motion to Approve settlement, and
 7/27/18     0.1                                                                                      $       35.00
                   reviewed reply
 7/27/18     0.3   Reviewed DE 24, Defendants' Motion to Deposit Funds                                $      105.00
                   Sent two emails to OC with Plaintiff's position on depositions and attempting to
 7/31/18     0.4                                                                                      $      140.00
                   resolve case, and reviewed reply
  8/1/18     0.1   Reviewed email from OC with Defendant's position on deposition scheduling          $       35.00
                   Sent email to OC regarding the issues surrounding the location and length of
  8/2/18     0.4   Defendant's deposition, as well providing a case summary and Plaintiff's           $      140.00
                   conditions for a Stipulated Judgement
                   Reviewed email from OC responding to email setting forth location and timing
  8/3/18     0.1                                                                                      $       35.00
                   conditions for Defendant's deposition
  8/7/18     0.1   Reviewed DE 25, Order Granting Motion to Deposit Funds                             $       35.00
  8/7/18     0.1   Reviewed DE 26, Order to Show Cause                                                $       35.00
 8/23/18     0.3   Contacted Client to update on Case status                                          $      105.00
 8/26/18     1.4   Performed Legal Research on conditions for enforceable settlements                 $      490.00
                   Prepared DE 28, Plaintiff's Response to Order to Show Cause and Motion for
 8/27/18     6.1                                                                                      $ 2,135.00
                   Reconsideration of Motion to Approve Settlement
                   Reviewed DE 29, Order Granting DE 28 and Approving Settlement and
 9/17/18     0.1                                                                                      $       35.00
                   Dismissing Case
 9/20/18    3.2    Prepared Motion for Fees                                                       $ 1,120.00
    Total   30.5                                                                                  $ 10,675.00
                                                                                      Hourly Rate $    350.00




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